Case 8:20-cv-00494-TDC Document 1-2 Filed 02/25/20 Page 1 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Maryland [x]

Kiesha D. Lewis )
)
)
)

Plaintiff(s) ) g pei aK

v. Civil Action No. ‘GELS euryog 9 A

Bureau of Engraving and Printing )
)
)
a a _ )
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

Bureau of Engraving and Printing
300 14th St SW,
Washington, DC 20228

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: ,.. .
Kiesha D. Lewis

2305 Prima Rd
Bowie, MD 20721

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: _ Bc
Signature of Clerk or Deputy Clerk
Case 8:20-cv-00494-TDC Document 1-2 Filed 02/25/20 Page 2 of 12
Parcel Shipping Order (PSO) Terms and Conditions The UPS Store #6293

SHIP DATE SHIPMENT INFORMATION DESCRIPTION OF GOODS
Tue 25 Feb 2020 | UPS Ground Com: 1 package PSPERWORK

Total Declared Value: Not provided
SENDER RECIPIENT PKG TRACKING NUMBER DECL VAL
KIESHA D. LEWIS BUREAU OF ENGRAVING + PRINTING 1 12Z7321290390829098 N/A
2305 PRIMA ROAD 300 14TH ST SW
Bowie, MD 20721 WASHINGTON, DC 20228-0002

Tel: (240) 346-8398
kieshalewis@hotmail.com

Subject to these terms and conditions, this The UPS Store® center (““We”, “Us”, or “Our”) will receive, forward and/or pack parcels for you the customer ( “You” or “Your”). The carrier for Your parcel(s) accepted by Us
(“Carrier”) will be UPS®. The Carrier may refuse to ship Your parcel(s) accepted by Us. You represent Your true name and address appear as sender above

We do not accept hazardous material, Other Regulated Material-D class (ORM-D), illegal items or articles of unusual value, including but not limited to cash. In addition, the Carrier's tariff, service guide, or terms and
conditions (“Carrier's Terms and Conditions” ) may specify other restricted items. Certified locations may accept some forms of ORM-D. Parcels containing “food” (as defined in section 201 (f) of the Federal Food, Drug,
and Cosmetic Act), will be accepted for transportation only according to the applicable terms and conditions in the Carrier's Terms and Conditions in effect on the date of shipment

We do not transport Your parcel(s). The Carrier transports Your parcel(s) subject to the UPS/Tariff Terms and Conditions of Service (“UPS Terms”) in effect on the date of shipment, which are available at
www.ups.com/terms. The Carrier's Terms and Conditions set forth the Carrier's rights, responsibilities, and limitations of liability with respect to the transportation of Your parcel(s) and are hereby incorporated in full into
this PSO. The UPS Terms contain a MANDATORY BINDING ARBITRATION CLAUSE AND CLASS ACTION WAIVER, which apply to any controversy or claim, whether at law or equity, arising out of or
relating to provision of services by UPS, regardless of the date of accrual of such dispute, except for claims that may be filed in courts of limited jurisdiction such as small claims, justice of the peace, magistrate
court, and similar courts with monetary limits on their jurisdictions over civil disputes.

We are Your agent for receiving and forwarding Your parcel(s) to the Carrier. We are not the Carrier's agent. You agree that We will be deemed the shipper of Your parcel(s) with the Carrier and that You are not the shipper
under the Carrier's Terms and Conditions. You therefore have no rights directly against the Carrier. Any rights You may have to recover damages or other compensation with respect to the transportation of Your parcel(s)
(including for loss, damage, or the Carrier's failure to timely deliver) are limited to those rights described in the Carrier's Terms and Conditions or in this PSO. You agree that We, as the shipper of Your parcel(s), are solely
entitled to any discounts or adjustments to the charges that We pay the Carrier for transporting Your parcel(s)

Except as expressly set forth in this PSO, We assume no liability for the delivery of Your parcel(s) or for loss or damage by any cause to the parcel(s) or their contents that occurs after We tender Your parcel(s) to the Carrier
The Carrier's driver may deliver Your parcel(s) without a signature unless You request a signature on delivery and pay any applicable charge. You agree that the Carrier is not liable for loss or damage occurring after delivery
of Your parcel(s). You also agree to all terms and conditions in this PSO, including all terms and conditions related to Your participation in the optional Declared Value Program

Any statement by Us regarding a probable date and (if applicable) time of delivery is only an estimate, and is not warranted in any manner. We are not liable for any consequential, indirect, special, incidental or punitive
damages, or any loss or damage resulting from delays in shipping or delivery. Our responsibility for damage to items caused by improper packing by Us is limited to any applicable Declared Value Program or other
program that We may offer and for which You have paid any applicable charge

Limitations of Liability and Exceptions. Our liability and the Carrier's liability for loss or damage to Your parcel(s) is strictly limited to the amounts set forth in this PSO and the Carrier's Terms and Conditions (in the event
of conflict, the Carrier's Terms and Conditions govern the Carrier's liability for loss or damage). Liability for loss or damage is limited to Your actual damages or $100 per parcel, whichever is less, unless You declare a higher
value and pay the applicable charge for a higher authorized value (under the Declared Value Program). We and the Carrier are not liable or responsible for items of unusual value, precious metals, negotiable instruments, or
items prohibited from shipment, or for which the Carrier's liability is excluded, under the Carrier's Terms and Conditions, Additional terms and conditions governing loss or damage claims can be found in the Carrier's Terms
and Conditions

UPS offers a declared value program providing declared value limits for loss or damage, subject to terms and conditions (including monetary limits) (_ “Declared Value Program”). The declared
value product will be available only if You have complied with all terms and conditions of the applicable Declared Value Program. We surcharge the cost of this product. If You elect to participate in the Declared Value
Program and You pay any applicable charge, We will declare value for Your eligible parcel(s) through the Carrier. You expressly acknowledge that the value of each parcel does not exceed the amount You declared as the
“Declared Value”. If You do not declare a Value, You agree that the value of each parcel does not exceed $100. If You do not declare a value above $100 and pay an additional charge for a parcel containing items of greater
value than $100, You will not be entitled to recover more than $100 for loss or damage to the items in that parcel. The Carrier's terms and conditions, including monetary limits, for its Declared Value Program are located in
the Carrier's Terms and Conditions

If You or the consignee has a claim for loss or damage to Your parcel(s) under the Declared Value Program, You agree to make the claim through Us. If You make such claim through Us, We will
submit a claim to the Carrier as the shipper of the parcels, and We will remit to You any recovery on the claim paid to Us by the Carrier for Your parcel(s). You expressly agree that We have no liability if any claim is denied
or paid only in part by the Carrier or other declared value. In the event You make a Guaranteed Service Refund (GSR) request to UPS, You agree to provide to UPS (and hereby authorize Us to provide to UPS) Your name
and address to be used by UPS to process the request

Any and all claims under any Declared Value Program must be in writing and received by Us within the Carrier's required time frame as set for in the Carrier's Terms
and Conditions. Claims not made within the prescribed time frame are waived and will not be paid. For all damage claims, the original packaging materials must be made available for the Carrier's inspection prior to
reshipment. All claims for loss or damage must be supported by the shipping documents, including but not limited to this PSO and a copy of the shipment receipt, and proof of the value of the lost or damaged items for any
declaration of value over $100

J vi If UPS is the Carrier for Your parcel(s), if You believe any parcel is eligible for a refund under the UPS Service Guarantee as set forth in the UPS Terms, You must
contact Us at the location that shipped the parcel(s) within 15 calendar days of the date of scheduled delivery. If You do not contact Us within the prescribed time frame, any claim to a refund under the UPS Service
Guarantee is waived and will not be paid

We are an independently owned and operated franchise of The UPS Store, Inc. and solely responsible for all aspects of Our operations. We are the exclusive employer of all employees of Our business. You acknowledge and
agree that The UPS Store, Inc. is not liable for any of Our acts or omissions and is not the employer or joint employer of the employees of Our business. This PSO constitutes the entire agreement between You and Us, and
supersedes all prior, subsequent and contemporaneous agreements, understandings, and representations, written or oral, relating to the subject matter hereof.

By signing below, You acknowledge that (i) You confirm the Ship to Address is accurate for each parcel (ii) You confirm the Declared Value for each parcel, if any, is correct (iii) You have read and reviewed the terms and
conditions described above in their entirety, (iv) You agree to be bound by all such terms and conditions, and (v) by so signing, this PSO constitutes binding and enforceable obligations of You. YOU FURTHER

ACKNOWLEDGE AND AGREE that, except as expressly set forth in the UPS Terms, any claims against Us or UPS (including its affiliates) arising out of or relating to provision of service by UPS are subject to individual,
mandatory binding arbitration, as set forth in the UPS Terms available at_ www.ups.com/terms

Mon 24 Feb 2020

CUSTOMER SIGNATURE TRANSACTION DATE

(en-US)Version(OL) 1.0.9.0 Printed 2/24/2020 11:24:16 PM UTC from POS6293A T&C Version: 2019.02.02 Effective: 2019/10/28 08:00 UTC Page 1 of 1

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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Maryland [=]

Kiesha D. Lewis )
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)
- - )
Plaintiff(s)

. Civil Action No.

¥ . ) ivil Action No ‘OLS 2UCV0494

Bureau of Fiscal Services ) '
)
)
Co )
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

Bureau of Fiscal Services
3201 Pensy Dr.

Building E

Landover, MD 20785-1603

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: . .
Kiesha D. Lewis

2305 Prima Rd
Bowie, MD 20721

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:
Signature of Clerk or Deputy Clerk
Case 8:20-cv-00494-TDC Document 1-2 Filed 02/25/20 Page 4 of 12
Parcel Shipping Order (PSO) Terms and Conditions The UPS Store #6293

SHIP DATE SHIPMENT INFORMATION DESCRIPTION OF GOODS
Tue 25 Feb 2020 | UPS Ground Com: 1 package PAPERWORK
Total Declared Value: Not provided
SENDER RECIPIENT PKG TRACKING NUMBER DECL VAL
KIESHA D. LEWIS BUREAU OF THE FISCAL SERVICE 1 1Z7321290324161692 N/A
2305 PRIMA ROAD 3201 PENNSY DR
Bowie, MD 20721 BULDING E
Tel: (240) 346-8398 LANDOVER, MD 20785-1603
kieshalewis@hotmail.com

Subject to these terms and conditions, this The UPS Store® center (“We”, “Us”, or “Our”) will receive, forward and/or pack parcels for you the customer ( “You” or “Your”). The carrier for Your parcel(s) accepted by Us
(“Carrier” ) will be UPS®. The Carrier may refuse to ship Your parcel(s) accepted by Us. You represent Your true name and address appear as sender above

We do not accept hazardous material, Other Regulated Material-D class (ORM-D), illegal items or articles of unusual value, including but not limited to cash. In addition, the Carrier's tariff, service guide, or terms and
conditions (“Carrier's Terms and Conditions” ) may specify other restricted items. Certified locations may accept some forms of ORM-D. Parcels containing “food” (as defined in section 201 (f) of the Federal Food, Drug,
and Cosmetic Act), will be accepted for transportation only according to the applicable terms and conditions in the Carrier's Terms and Conditions in effect on the date of shipment.

We do not transport Your parcel(s). The Carrier transports Your parcel(s) subject to the UPS/Tariff Terms and Conditions of Service (“UPS Terms”) in effect on the date of shipment, which are available at
www.ups.com/terms. The Carrier's Terms and Conditions set forth the Carrier's rights, responsibilities, and limitations of liability with respect to the transportation of Your parcel(s) and are hereby incorporated in full into
this PSO. The UPS Terms contain a MANDATORY BINDING ARBITRATION CLAUSE AND CLASS ACTION WAIVER, which apply to any controversy or claim, whether at law or equity, arising out of or
relating to provision of services by UPS, regardless of the date of accrual of such dispute, except for claims that may be filed in courts of limited jurisdiction such as small claims, justice of the peace, magistrate
court, and similar courts with monetary limits on their jurisdictions over civil disputes.

We are Your agent for receiving and forwarding Your parcel(s) to the Carrier. We are not the Carrier's agent. You agree that We will be deemed the shipper of Your parcel(s) with the Carrier and that You are not the shipper
under the Carrier's Terms and Conditions. You therefore have no rights directly against the Carrier. Any rights You may have to recover damages or other compensation with respect to the transportation of Your parcel(s)
(including for loss, damage, or the Carrier's failure to timely deliver) are limited to those rights described in the Carrier's Terms and Conditions or in this PSO. You agree that We, as the shipper of Your parcel(s), are solely
entitled to any discounts or adjustments to the charges that We pay the Carrier for transporting Your parcel(s)

Except as expressly set forth in this PSO, We assume no liability for the delivery of Your parcel(s) or for loss or damage by any cause to the parcel(s) or their contents that occurs after We tender Your parcel(s) to the Carrier.
The Carrier's driver may deliver Your parcel(s) without a signature unless You request a signature on delivery and pay any applicable charge. You agree that the Carrier is not liable for loss or damage occurring after delivery
of Your parcel(s). You also agree to all terms and conditions in this PSO, including all terms and conditions related to Your participation in the optional Declared Value Program

Any statement by Us regarding a probable date and (if applicable) time of delivery is only an estimate, and is not warranted in any manner. We are not liable for any consequential, indirect, special, incidental or punitive
damages, or any loss or damage resulting from delays in shipping or delivery. Our responsibility for damage to items caused by improper packing by Us is limited to any applicable Declared Value Program or other
program that We may offer and for which You have paid any applicable charge

i Our liability and the Carrier's liability for loss or damage to Your parcel(s) is strictly limited to the amounts set forth in this PSO and the Carrier's Terms and Conditions (in the event
of conflict, the Carrier's Terms and Conditions govern the Carrier's liability for loss or damage). Liability for loss or damage is limited to Your actual damages or $100 per parcel, whichever is less, unless You declare a higher
value and pay the applicable charge for a higher authorized value (under the Declared Value Program). We and the Carrier are not liable or responsible for items of unusual value, precious metals, negotiable instruments, or
items prohibited from shipment, or for which the Carrier's liability is excluded, under the Carrier's Terms and Conditions. Additional terms and conditions governing loss or damage claims can be found in the Carrier's Terms
and Conditions

UPS offers a declared value program providing declared value limits for loss or damage, subject to terms and conditions (including monetary limits) (_ “Declared Value Program”). The declared
value product will be available only if You have complied with all terms and conditions of the applicable Declared Value Program. We surcharge the cost of this product. If You elect to participate in the Declared Value
Program and You pay any applicable charge, We will declare value for Your eligible parcel(s) through the Carrier. You expressly acknowledge that the value of each parcel does not exceed the amount You declared as the
“Declared Value”. If You do not declare a Value, You agree that the value of each parcel does not exceed $100. If You do not declare a value above $100 and pay an additional charge for a parcel containing items of greater
value than $100, You will not be entitled to recover more than $100 for loss or damage to the items in that parcel. The Carrier's terms and conditions, including monetary limits, for its Declared Value Program are located in
the Carrier's Terms and Conditions.

If You or the consignee has a claim for loss or damage to Your parcel(s) under the Declared Value Program, You agree to make the claim through Us. If You make such claim through Us, We will
submit a claim to the Carrier as the shipper of the parcels, and We will remit to You any recovery on the claim paid to Us by the Carrier for Your parcel(s). You expressly agree that We have no liability if any claim is denied
or paid only in part by the Carrier or other declared value. In the event You make a Guaranteed Service Refund (GSR) request to UPS, You agree to provide to UPS (and hereby authorize Us to provide to UPS) Your name
and address to be used by UPS to process the request

Any and all claims under any Declared Value Program must be in writing and received by Us within the Carrier's required time frame as set for in the Carrier's Terms
and Conditions. Claims not made within the prescribed time frame are waived and will not be paid. For all damage claims, the original packaging materials must be made available for the Carrier's inspection prior to
reshipment. All claims for loss or damage must be supported by the shipping documents, including but not limited to this PSO and a copy of the shipment receipt, and proof of the value of the lost or damaged items for any
declaration of value over $100

If UPS is the Carrier for Your parcel(s), if You believe any parcel is eligible for a refund under the UPS Service Guarantee as set forth in the UPS Terms, You must
contact Us at the location that shipped the parcel(s) within 15 calendar days of the date of scheduled delivery. If You do not contact Us within the prescribed time frame, any claim to a refund under the UPS Service
Guarantee is waived and will not be paid

We are an independently owned and operated franchise of The UPS Store, Inc. and solely responsible for all aspects of Our operations. We are the exclusive employer of all employees of Our business. You acknowledge and
agree that The UPS Store, Inc. is not liable for any of Our acts or omissions and is not the employer or joint employer of the employees of Our business. This PSO constitutes the entire agreement between You and Us, and
supersedes all prior, subsequent and contemporaneous agreements, understandings, and representations, written or oral, relating to the subject matter hereof.

By signing below, You acknowledge that (i) You confirm the Ship to Address is accurate for each parcel (ii) You confirm the Declared Value for each parcel, if any, is correct (iii) You have read and reviewed the terms and
conditions described above in their entirety, (iv) You agree to be bound by all such terms and conditions, and (v) by so signing, this PSO constitutes binding and enforceable obligations of You. YOU FURTHER
ACKNOWLEDGE AND AGREE that, except as expressly set forth in the UPS Terms, any claims against Us or UPS (including its affiliates) arising out of or relating to provision of service by UPS are subject to individual,
mandatory binding arbitration, as set forth in the UPS Terms available at_ www. ups.com/terms

Mon 24 Feb 2020
CUSTOMER SIGNATURE TRANSACTION DATE

(en-US)Version(OL) 1.0.9.0 Printed 2/24/2020 11:20:26 PM UTC from POS6293A T&C Version: 2019.02.02

Effective: 2019/10/28 08:00 UTC Page 1 of 1

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UNITED STATES DISTRICT COURT

for the
District of Maryland [=]

Kiesha D. Lewis )
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)
)

Plaintiff(s) ) : z

v. ; Civil Action No. iGLS 2 U CV 0 d 9 4

Treasury Inspector General for Tax Administration )
(TIGTA) )
)
oe a a )
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

Treasury Inspector General for Tax Administration (TIGTA)
Ben Franklin Station

PO Box 589

Washington, DC 20044-0583

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are: . .
Kiesha D. Lewis

2305 Prima Rd
Bowie, MD 20721

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

- Signature of Clerk or Deputy Clerk —
Case 8:20-cv-00494-TDC Document 1-2 Filed 02/25/20 Page 6 of 12
Parcel Shipping Order (PSO) Terms and Conditions The UPS Store #6293

SHIP DATE SHIPMENT INFORMATION DESCRIPTION OF GOODS
Tue 25 Feb 2020 | UPS: 1 package PAPERWORK

Total Declared Value: Not provided
SENDER RECIPIENT PKG TRACKING NUMBER DECL VAL
KIESHA D. LEWIS TIGTA 1 1Z732129YN02510024 N/A
2305 PRIMA ROAD BEN FRANKIN STATION
Bowie, MD 20721 PO BOX 589
Tel: (240) 346-8398 WASHINGTON, DC 20044-0583
kieshalewis@hotmail.com

Subject to these terms and conditions, this The UPS Store® center (“We”, “Us”, or “Our”) will receive, forward and or pack qualifying UPS SurePost parcels for you the customer ( “You” or “Your’”). You represent Your
true name and address appear as sender above

UPS SurePost service transports domestic packages primarily by ground transportation with final delivery to residential addresses by either the United States Postal Service® (“USPS”) or UPS, in UPS's sole discretion lt is
an economy service for low value packages, with no date/time delivery guarantee, Customers in need of a delivery guarantee or protection against loss or damage in excess of $100 should select a higher level of UPS service

For UPS SurePost service, we do not accept parcels containing hazardous material, dangerous goods, other items subject to regulation under the U.S. Code of Federal Regulations, Title 49 (including Other Regulated
Material-D class (ORM-D)), lithium batteries, illegal items, or articles of unusual value including but not limited to cash. Parcels containing “food” (as defined in section 201 (f) of the Federal Food, Drug, and Cosmetic
Act), will be accepted for transportation only according to the applicable terms and conditions in the UPS Tariff/Terms and Conditions of Service ( “UPS Terms”) in effect on the date of shipment as modified by this PSO
The UPS Terms, UPS Rate and Service Guide (“UPS Guide”), or USPS Domestic Mail Manual may specify other restricted items. UPS SurePost rates may be found at https://www.ups.com/us/en/surepost-rates-tupss. page

We do not transport Your parcel(s). UPS provides UPS SurePost service pursuant to a contract between Us and UPS, which incorporates the UPS Terms in effect at the time of shipping. Accordingly, the transportation of
Your parcel(s) is subject to the UPS Terms in effect on the date of shipment, as modified by this PSO. The UPS Terms are available at www.ups.com/terms. In addition, You shall comply with the USPS Domestic Mail
Manual in effect on the date of shipment and all applicable USPS rules and regulations for all parcels tendered for UPS SurePost service, including restrictions on commodities and packaging. The USPS Domestic Mail
Manual is available at http://pe.usps.com/text/dmm300/dmm300_landing.htm . You shall be responsible for any penalties, fines, or any other damages that may arise as a result of Your failure to comply with USPS rules and
regulations or UPS requirements

The UPS Terms contain a MANDATORY BINDING ARBITRATION CLAUSE AND CLASS ACTION WAIVER, which apply to any controversy or claim, whether at law or equity, arising out of or relating to
provision of services by UPS, regardless of the date of accrual of such dispute, except for claims that may be filed in courts of limited jurisdiction such as small claims, justice of the peace, magistrate court, and
similar courts with monetary limits on their jurisdictions over civil disputes. UPS SurePost parcels may be released to the consignee's address without signature. Only one delivery attempt shall be made on each parcel.
UPS SurePost parcels that cannot be delivered by the USPS will be returned to Us or destroyed as determined by the USPS. If UPS is unable to deliver any UPS SurePost® parcel, it will be returned to Us.

We are Your agent for receiving and forwarding Your parcel(s) to UPS. We are not UPS's agent. You agree that We will be deemed the shipper of Your parcel(s) with UPS and that You are not the shipper under the UPS
Terms. You therefore have no rights directly against UPS. Any rights You may have to recover damages or other compensation with respect to the transportation of Your parcel(s) (including for loss or damage) are limited to
those rights described in the UPS Terms in effect on the date of shipment as modified by this PSO. You agree that We, as the shipper of Your parcel(s), are solely entitled to any discounts or adjustments to the charges that We
pay UPS for transporting Your parcel(s)

Except as expressly set forth in this PSO, We assume no liability for the delivery of Your parcel(s) or for loss or damage by any cause to the parcel(s) or their contents that occurs after We tender Your parcel(s) to UPS. You
agree that UPS's liability for lost or damaged parcel(s) is limited by the UPS Terms and by this PSO. The time and date of delivery for any UPS SurePost parcel is not guaranteed. The UPS Service Guarantee as set forth in

the UPS Tariff is not available for packages tendered for UPS SurePost service. Any statement by Us of a probable date of delivery is only an estimate, and is not warranted in any manner. You, on behalf of Yourself and Your
consignee, waive any right or claim for damages or liabilities of any kind against Us or UPS arising from or relating to delayed delivery of any UPS SurePost parcel

UPS SurePost service currently is available only for parcels picked up within the 48 contiguous United States for delivery to residential addresses in the 48 contiguous United States, Alaska, Hawaii, Puerto Rico, U.S
Territories and to the U.S. Post Office Boxes™ and APO/FPO/DPO addresses. UPS SurePost parcels must be at least four inches high, six inches long, and .75 inches thick, may not exceed 130 inches in length and girth
combined, and no single dimension may exceed 60 inches in length. The maximum weight of a UPS SurePost parcel is 70 pounds. UPS SurePost parcels also must comply with the size, weight, and content limitations set
forth in the USPS Domestic Mail Manual in effect at the time of shipping.

Our responsibility for damage to items caused by improper packing by Us is limited by the terms and conditions listed in this PSO. Items packed by You are covered for loss as limited herein but may not be covered for
damage

Limitations of Liability, Our liability and UPS's liability for loss or damage to UPS SurePost parcels is limited to a maximum of $100 per parcel. Liability for loss or damage is limited to the actual cost of the goods, the
repair cost, the replacement cost, or $100 per parcel, whichever is less. The limit of liability for a parcel containing a check or checks is limited to the stop payment and check(s) reissuance cost, not to exceed $100. The
liability for a parcel containing a phone card, gift certificate, gift card, or other similar printed matter with an exchange value is limited to the replacement cost of the physical card or printed matter, not to exceed $100. In no
event shall We or UPS be liable for the face value of any check, phone card, gift certificate, gift card, or other similar printed matter with an exchange value. Additional terms and conditions governing UPS's limitations of
liability can be found in the UPS Terms. Notwithstanding anything herein to the contrary, neither We nor UPS shall have any liability for any loss of, or damage to, any goods while in the care, custody, or control of the
USPS, or any other third party

UPS SurePost is an economy transportation service intended for the transportation of low value parcels; therefore, You agree that the limitations of liability set forth above are reasonable under the circumstances surrounding
the transportation. You represent that You do not wish to obtain greater protection against loss or damage on any parcel shipped by UPS SurePost, and that you will select a different service from Us allowing for declaration
of a value in excess of $100 on any parcel for which you would like greater protection against loss or damage. You waive on behalf of Yourself and Your consignee any right or claim for loss of or damage to parcels in excess
of these limitations of liabilities

You agree that a UPS delivery scan, including a driver release delivery record or a record of delivery to the USPS, shall constitute valid and conclusive proof of delivery by UPS and will terminate UPS's liability. Where a
delivery scan for a parcel has been provided as proof of delivery, neither We nor UPS shall be liable for, and You agree to hold Us and UPS harmless from, any and all claims arising from delivery of such parcel, including
loss, theft, non-delivery, or delayed delivery

Under no circumstances shall We or UPS be liable for any special, incidental, consequential, or punitive damages arising from the transportation of goods, including loss, misdelivery of, or damage to goods, delayed delivery,
or failure to attempt delivery in a timely manner

im. If You or the consignee has a claim against UPS for loss or damage to Your parcel(s), You agree to make the claim through Us. Any and all claims You may have against UPS must be in writing and received
by Us within UPS's required time frame as set forth in the UPS Terms. Claims not made within the prescribed time frame are waived and will not be paid. For all damage claims, the original packaging materials must be
made available for UPS's inspection, and the claim must be supported by the shipping documents including but not limited to this PSO and a copy of the receipt. Any and all claims You may have against USPS must be made
directly to Your local Post Office. You expressly agree that We have no liability if any claim is denied or paid only in part by UPS or the USPS

We are an independently owned and operated franchise of The UPS Store, Inc. and solely responsible for all aspects of Our operations. We are the exclusive employer of all employees of Our business. You acknowledge and
agree that The UPS Store, Inc. is not liable for any of Our acts or omissions and is not the employer or joint employer of the employees of Our business

This PSO constitutes the entire agreement between You and Us, and supersedes all prior, subsequent and contemporaneous agreements, understandings, and representations, written or oral, relating to the subject matter
hereof.

By signing below, You acknowledge that (i) You confirm the accuracy of the “Ship To” address (ii) You have read and reviewed the terms and conditions described above in their entirety, (iii) You agree to be bound by all
such terms and conditions, and (vi) by so signing, this PSO constitutes binding and enforceable obligations of You. YOU FURTHER ACKNOWLEDGE AND AGREE that, except as expressly set forth in the UPS Terms,
any claims against Us or UPS (including its affiliates) arising out of or relating to provision of service by UPS are subject to individual, mandatory binding arbitration, as set forth in the UPS Terms available at

Wwww.ups.com/terms
Mon 24 Feb 2020

CUSTOMER SIGNATURE TRANSACTION DATE

(en-US)Version(OL) 1.0.9.0 Printed 2/24/2020 11:22:35 PM UTC from POS6293A T&C Version: 9.02.02 Effective: 2019/10/28 08:00 UTC Page 1 of 1

Case 8:20-cv-00494-TDC Document 1-2 Filed 02/25/20 Page 7 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Maryland [=]
Kiesha D. Lewis )
)
)
oo )
Plaintiff(s) )
v. Civil ActionNo. [OLS 2UCVO494

Internal Revenue Service )
)
)
a )
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

Internal Revenue Service
1111 Constituition Ave, NW
Washington, DC 20224-0001

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are: _,_. .
Kiesha D. Lewis

2305 Prima Rd
Bowie, MD 20721

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 8:20-cv-00494-TDC Document 1-2 Filed 02/25/20 Page 8 of 12
Parcel Shipping Order (PSO) Terms and Conditions The UPS Store #6293

SHIP DATE SHIPMENT INFORMATION DESCRIPTION OF GOODS
Tue 25 Feb 2020 | UPS Ground Com: 1 package PAPERWORK

Total Declared Value: Not provided
SENDER RECIPIENT PKG TRACKING NUMBER DECL VAL
KIESHA D. LEWIS Internal Revenue Services 1 1Z7321290390827616 N/A
2305 PRIMA ROAD 1111 CONSTITUTION AVE NW
Bowie, MD 20721 WASHINGTON, DC 20224-0001

Tel: (240) 346-8398
kieshalewis@hotmail.com

Subject to these terms and conditions, this The UPS Store® center (“We”, “Us”, or “Our”) will receive, forward and/or pack parcels for you the customer ( “You” or “Your”). The carrier for Your parcel(s) accepted by Us
(“Carrier”) will be UPS®. The Carrier may refuse to ship Your parcel(s) accepted by Us. You represent Your true name and address appear as sender above.

We do not accept hazardous material, Other Regulated Material-D class (ORM-D), illegal items or articles of unusual value, including but not limited to cash. In addition, the Carrier's tariff, service guide, or terms and
conditions (“Carrier's Terms and Conditions” ) may specify other restricted items. Certified locations may accept some forms of ORM-D. Parcels containing “food” (as defined in section 201 (f) of the Federal Food, Drug,
and Cosmetic Act), will be accepted for transportation only according to the applicable terms and conditions in the Carrier's Terms and Conditions in effect on the date of shipment

We do not transport Your parcel(s). The Carrier transports Your parcel(s) subject to the UPS/Tariff Terms and Conditions of Service (“UPS Terms”) in effect on the date of shipment, which are available at
www.ups.convterms. The Carrier's Terms and Conditions set forth the Carrier's rights, responsibilities, and limitations of liability with respect to the transportation of Your parcel(s) and are hereby incorporated in full into
this PSO. The UPS Terms contain a MANDATORY BINDING ARBITRATION CLAUSE AND CLASS ACTION WAIVER, which apply to any controversy or claim, whether at law or equity, arising out of or
relating to provision of services by UPS, regardless of the date of accrual of such dispute, except for claims that may be filed in courts of limited jurisdiction such as small claims, justice of the peace, magistrate
court, and similar courts with monetary limits on their jurisdictions over civil disputes.

We are Your agent for receiving and forwarding Your parcel(s) to the Carrier. We are not the Carrier's agent. You agree that We will be deemed the shipper of Your parcel(s) with the Carrier and that You are not the shipper
under the Carrier's Terms and Conditions. You therefore have no rights directly against the Carrier. Any rights You may have to recover damages or other compensation with respect to the transportation of Your parcel(s)
(including for loss, damage, or the Carrier's failure to timely deliver) are limited to those rights described in the Carrier's Terms and Conditions or in this PSO. You agree that We, as the shipper of Your parcel(s), are solely
entitled to any discounts or adjustments to the charges that We pay the Carrier for transporting Your parcel(s)

Except as expressly set forth in this PSO, We assume no liability for the delivery of Your parcel(s) or for loss or damage by any cause to the parcel(s) or their contents that occurs after We tender Your parcel(s) to the Carrier
The Carrier's driver may deliver Your parcel(s) without a signature unless You request a signature on delivery and pay any applicable charge. You agree that the Carrier is not liable for loss or damage occurring after delivery
of Your parcel(s). You also agree to all terms and conditions in this PSO, including all terms and conditions related to Your participation in the optional Declared Value Program

Any statement by Us regarding a probable date and (if applicable) time of delivery is only an estimate, and is not warranted in any manner. We are not liable for any consequential, indirect, special, incidental or punitive
damages, or any loss or damage resulting from delays in shipping or delivery. Our responsibility for damage to items caused by improper packing by Us is limited to any applicable Declared Value Program or other
program that We may offer and for which You have paid any applicable charge

i Our liability and the Carrier's liability for loss or damage to Your parcel(s) is strictly limited to the amounts set forth in this PSO and the Carrier's Terms and Conditions (in the event
of conflict, the Carrier's Terms and Conditions govern the Carrier's liability for loss or damage). Liability for loss or damage is limited to Your actual damages or $100 per parcel, whichever is less, unless You declare a higher
value and pay the applicable charge for a higher authorized value (under the Declared Value Program). We and the Carrier are not liable or responsible for items of unusual value, precious metals, negotiable instruments, or
items prohibited from shipment, or for which the Carrier's liability is excluded, under the Carrier's Terms and Conditions. Additional terms and conditions governing loss or damage claims can be found in the Carrier's Terms
and Conditions

UPS offers a declared value program providing declared value limits for loss or damage, subject to terms and conditions (including monetary limits) (_ “Declared Value Program”). The declared
value product will be available only if You have complied with all terms and conditions of the applicable Declared Value Program. We surcharge the cost of this product. If You elect to participate in the Declared Value
Program and You pay any applicable charge, We will declare value for Your eligible parcel(s) through the Carrier. You expressly acknowledge that the value of each parcel does not exceed the amount You declared as the
“Declared Value”. If You do not declare a Value, You agree that the value of each parcel does not exceed $100. If You do not declare a value above $100 and pay an additional charge for a parcel containing items of greater
value than $100, You will not be entitled to recover more than $100 for loss or damage to the items in that parcel. The Carrier's terms and conditions, including monetary limits, for its Declared Value Program are located in
the Carrier's Terms and Conditions

If You or the consignee has a claim for loss or damage to Your parcel(s) under the Declared Value Program, You agree to make the claim through Us. If You make such claim through Us, We will
submit a claim to the Carrier as the shipper of the parcels, and We will remit to You any recovery on the claim paid to Us by the Carrier for Your parcel(s). You expressly agree that We have no liability if any claim is denied
or paid only in part by the Carrier or other declared value. In the event You make a Guaranteed Service Refund (GSR) request to UPS, You agree to provide to UPS (and hereby authorize Us to provide to UPS) Your name
and address to be used by UPS to process the request

Any and all claims under any Declared Value Program must be in writing and received by Us within the Carrier's required time frame as set for in the Carrier's Terms
and Conditions. Claims not made within the prescribed time frame are waived and will not be paid. For all damage claims, the original packaging materials must be made available for the Carrier's inspection prior to
reshipment. All claims for loss or damage must be supported by the shipping documents, including but not limited to this PSO and a copy of the shipment receipt, and proof of the value of the lost or damaged items for any
declaration of value over $100

J ! i If UPS is the Carrier for Your parcel(s), if You believe any parcel is eligible for a refund under the UPS Service Guarantee as set forth in the UPS Terms, You must
contact Us at the location that shipped the parcel(s) within 15 calendar days of the date of scheduled delivery. If You do not contact Us within the prescribed time frame, any claim to a refund under the UPS Service
Guarantee is waived and will not be paid

We are an independently owned and operated franchise of The UPS Store, Inc. and solely responsible for all aspects of Our operations. We are the exclusive employer of all employees of Our business. You acknowledge and
agree that The UPS Store, Inc. is not liable for any of Our acts or omissions and is not the employer or joint employer of the employees of Our business. This PSO constitutes the entire agreement between You and Us, and
supersedes all prior, subsequent and contemporaneous agreements, understandings, and representations, written or oral, relating to the subject matter hereof.

By signing below, You acknowledge that (i) You confirm the Ship to Address is accurate for each parcel (ii) You confirm the Declared Value for each parcel, if any, is correct (iii) You have read and reviewed the terms and
conditions described above in their entirety, (iv) You agree to be bound by all such terms and conditions, and (v) by so signing, this PSO constitutes binding and enforceable obligations of You. YOU FURTHER
ACKNOWLEDGE AND AGREE that, except as expressly set forth in the UPS Terms, any claims against Us or UPS (including its affiliates) arising out of or relating to provision of service by UPS are subject to individual,
mandatory binding arbitration, as set forth in the UPS Terms available at www.ups.com/terms

Mon 24 Feb 2020
CUSTOMER SIGNATURE TRANSACTION DATE

(en-US)Version(OL) 1.0.9.0 Printed 2/24/2020 11:18:25 PM UTC from POS6293A T&C Version: 2019.02.02 Effective: 2019/10/28 08:00 UTC Page 1 of 1

Case 8:20-cv-00494-TDC Document 1-2 Filed 02/25/20 Page 9 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Maryland [=]

Kiesha D. Lewis )
)
)
ee )

Plaintiff(s) ) ‘

v. ) Givin Actionna ls 2UCVO494

)
Deparment of the Treasury )
)
)
a - — )
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

Deparment of the Treasury
1500 Pennsylvania Ave, NW
Stop 830

Washington, DC 20220-0002

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: _.. .
Kiesha D. Lewis

2305 Prima Rd
Bowie, MD 20721

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 8:20-cv-00494-TDC Document 1-2 Filed 02/25/20 Page 10 of 12
Parcel Shipping Order (PSO) Terms and Conditions The UPS Store #6293

SHIP DATE SHIPMENT INFORMATION DESCRIPTION OF GOODS
Tue 25 Feb 2020 | UPS Ground Com: 1 package PAPERWORK
Total Declared Value: Not provided
SENDER RECIPIENT PKG TRACKING NUMBER DECL VAL
KIESHA D. LEWIS Department of the Treasurey 1. 127321290390826877 N/A
2305 PRIMA ROAD 1500 PENNSYLVANIA AVE NW
Bowie, MD 20721 STOP 830
Tel: (240) 346-8398 WASHINGTON, DC 20220-0002
kieshalewis@hotmail.com

Subject to these terms and conditions, this The UPS Store® center (“We”, “Us”, or “Our”) will receive, forward and/or pack parcels for you the customer ( “You” or “Your”). The carrier for Your parcel(s) accepted by Us
(“Carrier”) will be UPS®. The Carrier may refuse to ship Your parcel(s) accepted by Us. You represent Your true name and address appear as sender above

We do not accept hazardous material, Other Regulated Material-D class (ORM-D), illegal items or articles of unusual value, including but not limited to cash. In addition, the Carrier's tariff, service guide, or terms and
conditions (“Carrier's Terms and Conditions” ) may specify other restricted items. Certified locations may accept some forms of ORM-D. Parcels containing “food” (as defined in section 201 (f) of the Federal Food, Drug,
and Cosmetic Act), will be accepted for transportation only according to the applicable terms and conditions in the Carrier's Terms and Conditions in effect on the date of shipment

We do not transport Your parcel(s). The Carrier transports Your parcel(s) subject to the UPS/Tariff Terms and Conditions of Service (“UPS Terms”) in effect on the date of shipment, which are available at
www.ups.com/terms. The Carrier's Terms and Conditions set forth the Carrier's rights, responsibilities, and limitations of liability with respect to the transportation of Your parcel(s) and are hereby incorporated in full into
this PSO. The UPS Terms contain a MANDATORY BINDING ARBITRATION CLAUSE AND CLASS ACTION WAIVER, which apply to any controversy or claim, whether at law or equity, arising out of or
relating to provision of services by UPS, regardless of the date of accrual of such dispute, except for claims that may be filed in courts of limited jurisdiction such as small claims, justice of the peace, magistrate
court, and similar courts with monetary limits on their jurisdictions over civil disputes.

We are Your agent for receiving and forwarding Your parcel(s) to the Carrier. We are not the Carrier's agent. You agree that We will be deemed the shipper of Your parcel(s) with the Carrier and that You are not the shipper
under the Carrier's Terms and Conditions. You therefore have no rights directly against the Carrier. Any rights You may have to recover damages or other compensation with respect to the transportation of Your parcel(s)
(including for loss, damage, or the Carrier's failure to timely deliver) are limited to those rights described in the Carrier's Terms and Conditions or in this PSO. You agree that We, as the shipper of Your parcel(s), are solely
entitled to any discounts or adjustments to the charges that We pay the Carrier for transporting Your parcel(s).

Except as expressly set forth in this PSO, We assume no liability for the delivery of Your parcel(s) or for loss or damage by any cause to the parcel(s) or their contents that occurs after We tender Your parcel(s) to the Carrier
The Carrier's driver may deliver Your parcel(s) without a signature unless You request a signature on delivery and pay any applicable charge. You agree that the Carrier is not liable for loss or damage occurring after delivery
of Your parcel(s). You also agree to all terms and conditions in this PSO, including all terms and conditions related to Your participation in the optional Declared Value Program.

Any statement by Us regarding a probable date and (if applicable) time of delivery is only an estimate, and is not warranted in any manner. We are not liable for any consequential, indirect, special, incidental or punitive
damages, or any loss or damage resulting from delays in shipping or delivery. Our responsibility for damage to items caused by improper packing by Us is limited to any applicable Declared Value Program or other
program that We may offer and for which You have paid any applicable charge

i Our liability and the Carrier's liability for loss or damage to Your parcel(s) is strictly limited to the amounts set forth in this PSO and the Carrier's Terms and Conditions (in the event
of conflict, the Carrier's Terms and Conditions govern the Carrier's liability for loss or damage). Liability for loss or damage is limited to Your actual damages or $100 per parcel, whichever is less, unless You declare a higher
value and pay the applicable charge for a higher authorized value (under the Declared Value Program). We and the Carrier are not liable or responsible for items of unusual value, precious metals, negotiable instruments, or
items prohibited from shipment, or for which the Carrier's liability is excluded, under the Carrier's Terms and Conditions. Additional terms and conditions governing loss or damage claims can be found in the Carrier's Terms
and Conditions

UPS offers a declared value program providing declared value limits for loss or damage, subject to terms and conditions (including monetary limits) (_ “Declared Value Program”). The declared
value product will be available only if You have complied with all terms and conditions of the applicable Declared Value Program. We surcharge the cost of this product. If You elect to participate in the Declared Value
Program and You pay any applicable charge, We will declare value for Your eligible parcel(s) through the Carrier, You expressly acknowledge that the value of each parcel does not exceed the amount You declared as the
“Declared Value”. If You do not declare a Value, You agree that the value of each parcel does not exceed $100. If You do not declare a value above $100 and pay an additional charge for a parcel containing items of greater
value than $100, You will not be entitled to recover more than $100 for loss or damage to the items in that parcel. The Carrier's terms and conditions, including monetary limits, for its Declared Value Program are located in
the Carrier's Terms and Conditions.

If You or the consignee has a claim for loss or damage to Your parcel(s) under the Declared Value Program, You agree to make the claim through Us. If You make such claim through Us, We will
submit a claim to the Carrier as the shipper of the parcels, and We will remit to You any recovery on the claim paid to Us by the Carrier for Your parcel(s). You expressly agree that We have no liability if any claim is denied
or paid only in part by the Carrier or other declared value. In the event You make a Guaranteed Service Refund (GSR) request to UPS, You agree to provide to UPS (and hereby authorize Us to provide to UPS) Your name
and address to be used by UPS to process the request

Any and all claims under any Declared Value Program must be in writing and received by Us within the Carrier's required time frame as set for in the Carrier's Terms
and Conditions. Claims not made within the prescribed time frame are waived and will not be paid. For all damage claims, the original packaging materials must be made available for the Carrier's inspection prior to
reshipment. All claims for loss or damage must be supported by the shipping documents, including but not limited to this PSO and a copy of the shipment receipt, and proof of the value of the lost or damaged items for any
declaration of value over $100

If UPS is the Carrier for Your parcel(s), if You believe any parcel is eligible for a refund under the UPS Service Guarantee as set forth in the UPS Terms, You must
contact Us at the location that shipped the parcel(s) within 15 calendar days of the date of scheduled delivery. If You do not contact Us within the prescribed time frame, any claim to a refund under the UPS Service
Guarantee is waived and will not be paid

We are an independently owned and operated franchise of The UPS Store, Inc. and solely responsible for all aspects of Our operations. We are the exclusive employer of all employees of Our business. You acknowledge and
agree that The UPS Store, Inc, is not liable for any of Our acts or omissions and is not the employer or joint employer of the employees of Our business. This PSO constitutes the entire agreement between You and Us, and
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conditions described above in their entirety, (iv) You agree to be bound by all such terms and conditions, and (v) by so signing, this PSO constitutes binding and enforceable obligations of You. YOU FURTHER
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Mon 24 Feb 2020
CUSTOMER SIGNATURE TRANSACTION DATE

(en-US)Version(OL) 1.0.9.0 Printed 2/24/2020 11:17:34 PM UTC from POS6293A T&C Version: 2019.02.02 Effective: 2019/10/28 08:00 UTC Page 1 of 1

Case 8:20-cv-00494-TDC Document 1-2 Filed 02/25/20 Page 11 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Maryland [=]
Kiesha D. Lewis )
)
)
OS oe )
Plaintiff(s) ) ‘ a
V. Civil Action No. iGLS 2 U CV 0 4 9 4
U.S. Department of Veterans Affairs )
)
)
a )
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

U.S. Department of Veterans Affairs
810 Vermont Ave NW,
Washington, DC 20420

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: ,. .
Kiesha D. Lewis

2305 Prima Rd
Bowie, MD 20721

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: _ BC
Signature of Clerk or Deputy Clerk
Case 8:20-cv-00494-TDC Document 1-2 Filed 02/25/20 Page 12 of 12
Parcel Shipping Order (PSO) Terms and Conditions The UPS Store #6293

SHIP DATE SHIPMENT INFORMATION DESCRIPTION OF GOODS
Tue 25 Feb 2020 | UPS Ground Com: 1 package PAPERWORK

Total Declared Value: Not provided
SENDER RECIPIENT PKG TRACKING NUMBER DECL VAL
KIESHA D. LEWIS U.S. DEPARTAMENT OF VETERANS 1 12Z7321290390829838 N/A
2305 PRIMA ROAD 810 VERMONT AVE NW
Bowie, MD 20721 WASHINGTON, DC 20420-0001

Tel: (240) 346-8398
kieshalewis@hotmail.com

Subject to these terms and conditions, this The UPS Store® center (“We”, “Us”, or “Our’”) will receive, forward and/or pack parcels for you the customer ( “You” or “Your”). The carrier for Your parcel(s) accepted by Us
(“Carrier” ) will be UPS®. The Carrier may refuse to ship Your parcel(s) accepted by Us. You represent Your true name and address appear as sender above

We do not accept hazardous material, Other Regulated Material-D class (ORM-D), illegal items or articles of unusual value, including but not limited to cash. In addition, the Carrier's tariff, service guide, or terms and
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declaration of value over $100

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Guarantee is waived and will not be paid

We are an independently owned and operated franchise of The UPS Store, Inc. and solely responsible for all aspects of Our operations. We are the exclusive employer of all employees of Our business. You acknowledge and
agree that The UPS Store, Inc. is not liable for any of Our acts or omissions and is not the employer or joint employer of the employees of Our business. This PSO constitutes the entire agreement between You and Us, and
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conditions described above in their entirety, (iv) You agree to be bound by all such terms and conditions, and (v) by so signing, this PSO constitutes binding and enforceable obligations of You. YOU FURTHER
ACKNOWLEDGE AND AGREE that, except as expressly set forth in the UPS Terms, any claims against Us or UPS (including its affiliates) arising out of or relating to provision of service by UPS are subject to individual,
mandatory binding arbitration, as set forth in the UPS Terms available at. www ups.com/terms

Mon 24 Feb 2020

CUSTOMER SIGNATURE TRANSACTION DATE

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